
BRIAN STEWART, INDIVIDUALLY AND AS PERSONAL REPRESENTATIVE OF THE ESTATES OF CONNIE AND SARAH STEWART, DECEASED, AND AS NATURAL PARENT AND GUARDIAN AND CONSERVATOR OF CARYN STEWART, AND NATURAL GUARDIAN OF CHRISTIAN STEWART AND GREG BRYAN, INDIVIDUALLY AND AS PERSONAL REPRESENTATIVE OF THE ESTATE OF ANDREW BRYAN, DECEASED AND SHEILA BRYAN, INDIVIDUALLY AND AS PERSONAL REPRESENTATIVE OF THE ESTATE OF ANDREW BRYAN, DECEASED AND DOUG BRYAN, INDIVIDUALLY
v.
PRECISION AIRMOTIVE, LLC, INDIVIDUALLY AND AS JOINT VENTURER, PRECISION AIRMOTIVE CORPORATION, INDIVIDUALLY AND AS JOINT VENTURER AND AS SUCCESSOR-IN-INTEREST TO PRECISION AIRMOTIVE CORPORATION, AND PRECISION AEROSPACE CORPORATION, INDIVIDUALLY AND AS JOINT VENTURER, PRECISION AEROSPACE SERVICES, LLC F/K/A PRECISION AEROSPACE GROUP, LLC, INDIVIDUALLY AND AS JOINT VENTURER, PRECISION AVIATION PRODUCTS CORPORATION, INDIVIDUALLY AND AS JOINT VENTURER, PRECISION PRODUCTS LLC, INDIVIDUALLY AND AS JOINT VENTURER, ZENITH FUEL SYSTEMS, LLC, INDIVIDUALLY AND AS JOINT VENTURER AND AS SUCCESSOR-IN-INTEREST TO ZENITH FUEL SYSTEMS INC., AND BURNS INTERNATIONAL SERVICES CORPORATION, INDIVIDUALLY, AS JOINT VENTURER AND AS SUCCESSOR-IN-INTEREST TO BORG-WARNER CORP., AND MARVEL-SCHEBLER, A DIVISION OF BORG-WARNER CORP. AND FORMER FUEL SYSTEMS, INC. F/K/A FACET FUEL SYSTEMS, INC., INDIVIDUALLY, TO JOINT VENTURER AND AS SUCCESSOR-IN-INTEREST TO FACET AEROSPACE PRODUCTS CO., MARK IV INDUSTRIES, INC., INDIVIDUALLY, AS JOINT VENTURER AND AS SUCCESSOR-IN-INTEREST TO FACET ENTERPRISES, INC. AND FACET AEROSPACE PRODUCTS CO. AND AVCO CORPORATION, D/B/A TEXTRON LYCOMING
PETITION OF: PRECISION AIRMOTIVE CORPORATION AND PRECISION AIRMOTIVE, LLC ("PRECISION")
Nos. 13 EAL 2011, 14 EAL 2011
Supreme Court of Pennsylvania, Eastern District.
April 5, 2012.

ORDER
PER CURIAM.
AND NOW, this 5th day of April, 2012, the Petitions for Allowance of Appeal are DENIED.
